

People v Magee (2022 NY Slip Op 04105)





People v Magee


2022 NY Slip Op 04105


Decided on June 23, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 23, 2022

Before: Manzanet-Daniels, J.P., Webber, Gesmer, Scarpulla, Shulman, JJ. 


SCI No. 833/18 Appeal No. 16193 Case No. 2018-4806 

[*1]The People of the State of New York, Respondent,
vMorgan Magee, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Samuel Claflin of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Kalani Browne of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Bahaati E. Pitt, J.), rendered May 17, 2018, convicting defendant, upon his plea of guilty, of assault in the second degree, and sentencing him to a term of six months, concurrent with five years' probation, unanimously modified, on the law, to the extent of vacating the May 16, 2023 maximum expiration date of the period of probation and replacing it with the date of December 16, 2022, and otherwise affirmed.
Because of defendant's jail time credit, which applies to both the jail and probation components of his sentence, his probationary period is effectively 4½ years as a matter of law (see People v Zephrin, 14 NY3d 296 [2010]). However, we perceive no basis for any further reduction of the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 23, 2022








